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8
9                         UNITED STATES DISTRICT COURT
10                      NORTHERN DISTRICT OF CALIFORNIA

11   HURRICANE ELECTRIC, LLC,        a)
12   Nevada limited liability company,) Case No.:
                                      )
13                  Plaintiff,        ) COMPLAINT FOR DECLARATORY
14         vs.                        ) RELIEF
                                      )
15   NATIONAL     FIRE       INSURANCE)
16   COMPANY OF HARTFORD, an Illinois)
     corporation,                     )
17                                    )
18                  Defendant.        )
                                      )
19
20         Plaintiff Hurricane Electric, LLC (“Plaintiff” or “HE”), by counsel, for its
21   Complaint against Defendant National Fire Insurance Company of Hartford
22   (“Defendant” or “NFI”), alleges on knowledge as to its own actions, and otherwise
23   Plaintiff is informed and believes and thereon alleges, as follows:
24                               NATURE OF THE ACTION
25         1. HE seeks declaratory judgment that NFI, HE’s insurer, has a duty to pay
26   policy benefits for HE’s defensive pursuit of declaratory relief in the action styled
27   Hurricane Electric, LLC, v. Dallas Buyers Club, LLC, et al., Case No. 4:20-cv-03813
28   in the United States District Court for the Northern District of California (hereinafter
                            COMPLAINT FOR DECLARATORY RELIEF
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1    referred to as “the California Action”). A true and correct copy of the operative
2    complaint in that action is attached as Exhibit “1”.
3          2. HE also seeks a declaratory judgment that NFI has a duty to pay policy
4    benefits for HE’s defensive pursuit of declaratory relief in the action styled Hurricane
5    Electric, LLC, v. Millennium Funding, Inc., et al., Case No. 2:20-cv-01034 in the United
6    States District Court for the District of Nevada (hereinafter referred to as “the Nevada
7    Action”). A true and correct copy of the operative complaint in that action is attached
8    as Exhibit “2”.
9          3. Both the California Action and the Nevada Action are collectively referred
10   to as the “HE Declaratory Relief Actions.”
11                                          PARTIES
12         4. NFI is an insurance company that provides insurance to HE.
13         5. HE is informed and believes and based thereon alleges that NFI is a
14   corporation incorporated in the State of Illinois, with its principal place of business in
15   Chicago, Illinois.
16         6. HE is a small privately-held company started in Silicon Valley by a start-up
17   individual entrepreneur. The sole owners and members of HE are Mike Leber and Paula
18   Leber, who are citizens of California and reside in Fremont, California. HE is a limited
19   liability company organized and existing under the laws of the State of Nevada, with its
20   principal place of business in Fremont, California.
21         7. HE’s primary business is as an upstream service provider and its business
22   model for this service does not include hosting data on servers for customers to be
23   accessed by third parties. HE, as an upstream service provider, does not have access to,
24   or have control over, the content communicated through the Internet by its customers,
25   which are account holders such as internet service providers (“ISPs”), or by its
26   customers’ customers, such as end-user subscribers to an ISP. HE’s customers and its
27   customers’ customers are sometimes collectively referred to herein as “Customers/End-
28   Users.”
                            COMPLAINT FOR DECLARATORY RELIEF
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1          8. As an upstream service provider, HE simply acts as a “highway” that
2    passively provides its Customers/End-Users with internet access. HE internet
3    connections are business-to-business (“B2B”) type connections and are most often
4    sourced from data centers. HE’s customers in turn provide service to thousands or tens
5    of thousands of end users, and ISPs that provide Internet to thousands or tens of
6    thousands of third-party subscribers over large geographic areas.
7          9. HE has grown, in the niche upstream service provider market, to be a global
8    provider of access to the backbone of the internet, offering Internet Protocol version 4
9    (“IPv4”) and Internet Protocol version 6 (“IPv6”) Internet access, transit, tools, and
10   network applications, as well as data center services in San Jose, California, and in the
11   company’s home base in Fremont, California.
12         10. HE operates a global IPv4 and IPv6 network and is considered the largest
13   IPv6 backbone in the world.
14         11. In addition to its vast global network, HE owns and operates two data center
15   facilities in Fremont, California. HE offers IPv4 and IPv6 transit solutions, which allow
16   Customers/End-Users to access destinations on the Internet.
17         12. HE also offers free connectivity to the IPv6 internet through a page on its
18   website (hereinafter referred to as the “IPv6 Tunnel Broker”).
19         13. In the upstream service provider business, HE does not have the connections
20   to go the “last mile” to end-users, and such end-users must utilize a service provider to
21   connect to HE.
22                                      JURISDICTION
23         14. This Court has subject matter jurisdiction over this case pursuant to the
24   Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202. As described below, there
25   exists an important case and controversy between the parties as to whether NFI has a
26   duty to pay policy benefits for HE’s defensive pursuit of declaratory relief in the
27   presently-pending HE Declaratory Relief Actions.
28         15. This Court also has subject matter jurisdiction over this case pursuant to 28
                            COMPLAINT FOR DECLARATORY RELIEF
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1    U.S.C. § 1332(a) and (c), because there is complete diversity of citizenship between HE
2    and NFI, and the amount in controversy exceeds $75,000.
3          16. Commonly-represented copyright assertion entities (hereinafter collectively
4    referred to as the “Claimants”) asserted statutory damages for over $75,000 in payments
5    alleged in a March 19, 2020 cease and desist letter (the “C&D Letter”) sent by
6    Claimants’ counsel. Claimants’ demand for damages allegedly arose from the known
7    and unknown claims allegedly emanating from HE’s advertisements. The damages
8    exceed the $75,000 amount-in-controversy requirement for diversity jurisdiction. A true
9    and correct copy of the C&D Letter is attached as Exhibit “3”.
10         17. The C&D Letter stated that:
11         Thousands of infringements of my clients’ motion pictures have occurred
           at the above [five] IP addresses. . . . . Remedies available to [Claimants]
12
           include: . . . Actual and statutory damages of up to $150,000/motion
13         picture; and costs and attorney’s fees.
14         18. On May 1, 2020, the Claimants sent HE a list of over 2,300 IP addresses
15   (“2300 IP List”) along with a letter from Claimants’ counsel referencing the
16   downloading of additional movies that purportedly evidenced alleged copyright
17   infringement at IP addresses associated with HE’s customers. True and correct copies
18   of this list and letter are attached as Exhibits “4” & “5”, respectively.
19         19. According to the C&D Letter, the computation of the alleged monetary
20   damages referenced in the C&D Letter and 2300 IP List would be calculated by
21   multiplying the 30 to 40 movies, which Claimants’ counsel alleges were infringed, by
22   $150,000. [Ex. 5] Even if HE were to pay a portion of those damages as demanded in
23   the C&D Letter, the allegations of multiple infringements in the C&D Letter clearly
24   demonstrate that the $75,000 amount-in-controversy requirement is exceeded.
25         20. Personal jurisdiction is proper in the Northern District of California over non-
26   resident NFI, because this Court has specific personal jurisdiction over NFI for at least
27   the reasons provided below:
28             a. First, NFI has purposefully directed its activities at, and consummated
                            COMPLAINT FOR DECLARATORY RELIEF
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1                   transactions with, HE in the Northern District of California. NFI
2                   purposefully availed itself of the privilege of conducting activities in the
3                   Northern District of California thereby invoking the benefits and
4                   protections of its laws. These benefits and protections include NFI being
5                   licensed to sell insurance in California, and NFI selling one or more
6                   insurance policies to HE in the Northern District of California to protect
7                   HE’s business which it conducts world-wide from the Northern District
8                   of California;
9               b. Second, this declaratory relief action arises directly out of the insurance
10                  policy that NFI sold to HE in the Northern District of California to protect
11                  HE’s business in the Northern District of California;
12              c. Third, the exercise of jurisdiction over non-resident NFI in the Northern
13                  District of California to resolve these issues comports with fair play and
14                  substantial justice. It is reasonable for NFI, an insurer, to expect to be
15                  haled into court in the judicial district where its insured, HE, is located,
16                  because California law governs NFI’s obligations to HE under applicable
17                  California choice of law rules. This is especially true because there is a
18                  dispute over the applicability of the insured’s policy relating to the
19                  insured’s activities in the HE Declaratory Relief Actions, which are
20                  subject to ongoing litigation in this judicial district.
21                                             VENUE
22          21. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(a),
23   (b)(1), (b)(2), (c)(2), and (d) because NFI is subject to personal jurisdiction in this
24   judicial district, and because a substantial part of the events or omissions giving rise to
25   the claim occurred, or a substantial part of property that is the subject of the action is
26   situated, in this judicial district.
27                               INTRADISTRICT ASSIGNMENT
28          22. Pursuant to Civil L.R. 3-2(d), this action should be assigned to the San
                              COMPLAINT FOR DECLARATORY RELIEF
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1    Francisco or Oakland divisions, because this is a civil action that arose in Fremont,
2    California, which is in Alameda County.
3            23. The California Action pending before Judge Breyer is a “related case” to this
4    declaratory relief action under Civil L.R. 3-12 which defines a related case as one
5    where:
6
             (1) The actions concern substantially the same parties, property,
7                transaction or event; and
8            (2) It appears likely that there will be an unduly burdensome duplication
                 of labor and expenses or conflicting results if the cases are conducted
9                before different Judges.
10           24. The California Action involves the “same . . . event” as this declaratory relief
11   action, that is the demands by commonly-represented copyright assertion entities
12   (hereinafter collectively referred to as the “Claimants”) for over $500,000 in payments
13   plus other concessions alleged in a March 19, 2020 C&D Letter sent by counsel for the
14   Claimants.
15           25. The C&D Letter broadly alleges:
16
             [T]he Internet [S]ervice [HE] provides to its subscribers at IP addresses . .
17           . . ha[s] [been used] repeatedly [by subscribers to] infringe[] the copyright
18           in [Claimants’] motion pictures . . . . [Claimants] request that: (1) HE agree
             to immediate[ly] terminate all Internet [S]ervice to the subscribers at the
19           above IP addresses; (2) HE agrees to take the appropriate action to
20           terminate subscriber accounts in response to all further copyright
             notifications received from [Claimants’] agent; and (3) pay a portion of my
21           clients’ damages.
22           26. HE filed the California Action to obtain a judgment that it did not infringe as
23   alleged in the C&D Letter or if it did that it was protected from liability by the “safe
24   harbor” provisions of 17 U.S.C. § 512 (Title II of the Digital Millennium Copyright
25   Act).
26           27. HE filed this declaratory relief action against NFI to obtain reimbursement
27   for the money it expended in bringing the HE Declaratory Relief Actions, including the
28   California Action.
                              COMPLAINT FOR DECLARATORY RELIEF
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1          28. Without the C&D Letter there would be neither a California Action nor this
2    declaratory relief action. Accordingly, the C&D Letter is the “same . . . event” that gave
3    rise to both the California Action and this declaratory relief action per L.R. 3-12.
4          29. If this case were assigned to a different judge there would be “unduly
5    burdensome duplication of labor and expenses . . . .” because resolution of the copyright
6    infringement issues in the California Action would impact this declaratory relief action.
7          30. More specifically, the determination of any alleged copyright infringement
8    or filing of a counterclaim by Claimants in the California Action has the potential to
9    directly impact NFI’s defensive duty and the coverage analysis in this action.
10                                 STATEMENT OF FACTS
11         31. HE filed the HE Declaratory Relief Actions in response to the C&D Letter.
12         32. The C&D Letter made broad allegations that IP addresses associated with
13   HE’s customers utilized what the C&D Letter referred to as HE’s “Internet
14   [S]ervice[s].” The term “Internet [S]ervice” is undefined in the C&D Letter and includes
15   all of HE’s IPv4 and IPv6 services that it has advertised about on the internet and its
16   website as the C&D Letter explicitly alleged infringing IPv4 and IPv6 addresses.
17         33. The C&D Letter also demanded that HE “take the appropriate action to
18   terminate subscriber accounts in response to further copyright notifications” and
19   specifically asserted a claim for monetary damages.
20         34. The Claimants purport to be owners of copyrighted movies, and include but
21   are not limited to Dallas Buyers Club LLC, Millennium Funding Inc., Bodyguard
22   Products, Inc., UN4 Productions, Inc., LHF Productions, Inc., Rambo V Productions,
23   Inc., Fallen Productions, Inc., and HB Productions, Inc.
24         35. The HE Declaratory Relief Actions seek declaratory judgement that HE has
25   not infringed, neither directly nor contributorily nor vicariously, any copyrighted
26   materials of Claimants, and in the alternative event that HE is found to have infringed
27   any such rights, that HE is shielded from liability by the “safe harbor” provisions of 17
28   U.S.C. § 512 (Title II of the Digital Millennium Copyright Act).
                            COMPLAINT FOR DECLARATORY RELIEF
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1           36. NFI’s duty to reimburse HE for the HE Declaratory Relief Actions arises
2    from alleged contributory and/or vicarious copyright infringement that allegedly
3    occurred within HE’s advertisements during NFI’s policy period of January 24, 2015 to
4    January 24, 2016, (hereinafter referred to as the “2015 Policy”) by allegedly engaging
5    in advertising or promoting of services that facilitated the alleged infringement of
6    copyrights. A true and correct copy of the 2015 Policy is attached hereto as Exhibit
7    “6”.
8           37. There are a number of HE customers who signed up during the 2015 Policy
9    for HE’s IPv4 “Internet [S]ervice[s],” as referred to in the C&D Letter. A group of those
10   were also customers in 2018 the same year the C&D Letter alleges the infringement
11   occurred. These online sign-ups include but are not limited to sign-ups on September
12   24, 2015 and January 21, 2016, contemporaneous with and in response to HE’s Internet
13   advertisement on Google.
14          38. The C&D Letter allegations that the advertisements for “Internet
15   [S]ervice[s]” encouraged anyone, whether an HE customer, end user, or any other
16   person, to commit any copyright infringements, including but not limited to the alleged
17   copyright infringements referenced in the C&D Letter are contested by HE.
18          39. An HE customer signed up for HE’s IPv6 Tunnel Broker, an “Internet
19   [S]ervice” as referred to in the C&D Letter in 2018. HE’s IPv6 Tunnel Broker allows
20   owners of IPv4 website address or other equipment and software to test if they will
21   work on an IPv6 address. The C&D Letter alleged an IPv6 address associated with HE’s
22   customer of infringing in the C&D Letter on September 18, 2018. Multiple sign-ups,
23   however, for the IPv6 “Internet [S]ervice[s]” occurred within the 2015 Policy.
24          40. A reasonable inference from the C&D Letter is that Claimants will assert
25   customers that signed up during the 2015 Policy allegedly committed copyright
26   infringement at a later date through HE’s IPv6 Tunnel Broker, an “Internet [S]ervice”
27   as referred to in the C&D Letter, for two reasons:
28             a. First, the C&D Letter lists an IPv6 address associated with an HE
                            COMPLAINT FOR DECLARATORY RELIEF
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1                  customer that allegedly committed copyright infringement demonstrating
2                  IPv6 infringement can allegedly occur;
3               b. Second, Claimants have referenced “[t]housands” of alleged copyright
4                  infringements at five IP addresses—including the noted IPv6 address—
5                  listed in the C&D Letter, evidencing an inference that more alleged IP
6                  infringements, including the end users associated with HE IPv6 customers
7                  that signed up within the 2015 Policy and who are still customers, are
8                  forthcoming.
9          41. HE customers who signed up for HE’s IPv6 Tunnel Broker, an “Internet
10   [S]ervice” per the C&D Letter, utilized the services in HE’s advertisement to test
11   whether their IPv4 equipment would work on an IPv6 address. The IPv6 Tunnel Broker
12   also allows end users to test whether their IPv4 addresses work on an IPv6 address.
13         42. The C&D Letter’s broad reference to “Internet [S]ervice” suggests that HE’s
14   IPv6 Tunnel Broker advertisement encouraged the alleged copyright infringement. HE
15   contests that was its effect.
16         43. Certain end users allegedly used HE’s IPv6 Tunnel Broker, an “Internet
17   [S]ervice[s]” as referred to in the C&D Letter, to allegedly commit the copyright
18   infringements referenced in the C&D Letter, though HE contests it did not directly or
19   indirectly encourage the alleged infringement.
20         44. The C&D Letter, in addition to the reasonable inference of Claimants’
21   forthcoming allegations of further copyright infringement on IPv6 addresses, allege that
22   HE owes Claimants damages for the alleged copyright infringements that allegedly
23   arose from HE’s IPv6 advertisement.
24                                    THE 2015 POLICY
25         45. NFI issued to HE the 2015 Policy [Ex. 6]. The 2015 Policy incorporates
26   occurrence-based coverage per Form CG0001 4-13. The NFI Policy provides “Personal
27   & Advertising Injury” limit of $1,000,000 and a “General Aggregate” limit of
28   $2,000,000.
                             COMPLAINT FOR DECLARATORY RELIEF
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1         46. The NFI Policy states in pertinent part:
2         COVERAGE B – PERSONAL AND ADVERTISING INJURY
          LIABILITY
3
          1. Insuring Agreement
4
          a. We will pay those sums that the Insured becomes legally obligated to
5         pay as damages because of “personal and advertising injury” to which this
6         insurance applies. We will have the right and duty to defend the Insured
          against any suit seeking those damages. . . . .We may, at our discretion,
7         investigate any offense and settle any claim or suit that may result. . . .
8         …
9         SECTION V – DEFINITIONS
10        1. Advertisement means a notice that is broadcast or published to the
          general public or specific market segments about your goods, products or
11        services for the purpose of attracting customers or supporters. For the
12        purposes of this definition:
13        a. Notices that are published include material placed on the Internet . . . ;
          and
14
          b. Regarding web sites, only that part of a web site that is about your goods,
15        products or services for the purposes of attracting customers or supporters
16        is considered an advertisement.

17        …
          14. . . . [A]dvertising injury means injury . . . arising out of one or more of
18
          the following offenses: . . .
19        g. Infringing upon another's copyright, trade dress or slogan in your
20        “advertisement.”
21        …
22        18. Suit means a civil proceeding in which damages because . . .
          “advertising injury” to which this insurance applies are alleged. Suit
23        includes: . . .
24         b. Any other alternative dispute resolution proceeding in which such
           damages are claimed and to which the Insured submits . . . .
25
26    NFI’S DENIAL OF ANY DUTY TO DEFEND THE C&D LETTER CLAIMS
27         47. On or about May 27, 2020, HE gave notice to NFI through CNA, the parent
28   company of NFI, of the alleged copyright claims made against HE. CNA functions as
                           COMPLAINT FOR DECLARATORY RELIEF
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1    NFI’s claim representative entity that interacts with insureds on behalf of NFI, through
2    its insurance broker. HE requested that NFI provide coverage for the claims. A true and
3    correct copy of this notice is attached as Exhibit “7”.
4          48. A true and correct copy of NFI’s acknowledgement of notice email dated
5    June 4, 2020 is attached as Exhibit “8”.
6          49. By letter dated July 1, 2020, NFI acknowledged tender of the matter but
7    denied HE coverage for the alleged claims of copyright infringement. In its denial letter,
8    NFI denied coverage based on its stated view that NFI had no duty to defend or
9    indemnify HE in the absence of a “suit.” A true and correct copy of NFI’s July 1, 2020
10   denial letter is attached as Exhibit “9”.
11         50. HE submitted a demand for policy benefits in connection with a notice of
12   mediation, but NFI did not agree to participate in mediation, which was scheduled for
13   July 30, 2020. NFI has not revisited the potential for coverage in light of the fact that
14   the suit requirement in its policy has now been met. A true and correct copy of the
15   Notice to NFI and NFI’s Denial to Participate in HE’s and Claimants’ Scheduled
16   Mediation Proceeding is attached as Exhibit “10”.
17         51. NFI also asserted in its denial letter that the HE Declaratory Relief Actions
18   did not allege an “advertising injury” offense within the NFI policy period. NFI failed
19   to identify any facts to support its assertion that the HE Declaratory Relief Actions do
20   not assert any claims for “advertising injury.”
21           NO SUIT NEED BE FILED AGAINST HE BECAUSE A MEDIATION
22                                               OCCURRED
23         52. On July 30, 2020 HE and Claimants, mediated the disputes addressed in the
24   HE Declaratory Relief Actions. [Ex. 10]
25         53. A “mediation” is an “alternative dispute resolution” proceeding within the
26   meaning of NFI’s policy because per section “3-4. ADR Options” of the local rules on
27   Alternative Dispute Resolution for the Northern District of California state that: “[t]he
28   court sponsored ADR options . . . include: . . . 2. mediation.” A true and correct copy
                            COMPLAINT FOR DECLARATORY RELIEF
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1    of these local rules is attached as Exhibit “11” and the relevant section can be found
2    on page seven.
3          54. NFI’s representative, Catherine Gardner, was duly advised about the
4    mediation on Friday July 24, 2020. This event occurred one week prior to the mediation.
5    On July 27, 2020, NFI refused to recognize any coverage obligations arising from the
6    C&D Letter. NFI’s agreement to allow the mediation to proceed to resolve these
7    disputes was not a requirement to proceed.
8          55. Moreover, in an email on July 28, 2020, NFI acknowledged the
9    communications and declined to participate in the mediation. [Ex. 10] Under the terms
10   of the 2015 Policy, NFI cannot refuse to agree that a mediation proceeding after its
11   declination of a defense does not satisfy the definition of an “alternative dispute
12   resolution” within the suit provision of its policy.
13         56. NFI’s duty to participate in settlement is not impacted by whether there may
14   be coverage for a judgment entered in any lawsuits that Claimants pursue against HE.
15   Rather, it is impacted by whether there is a potential for coverage for the claims asserted
16   including the demand for monetary damages in the C&D Letter.
17         57. NFI’s denial of its obligation to defend the claims asserted in the C&D Letter
18   forfeited its ability to control resolution of the claims asserted therein. Any settlement
19   for a reasonable sum which fell within the 2015 Policy’s coverage would obligate NFI
20   to pay that sum.
21         58. At no time has NFI contended that pursuit of a mediation was contrary to
22   HE’s right as an NFI insured. Nor that the pursuit of mediation did not meet the
23   requirement for implementation of an “alternative dispute resolution” procedure
24   meeting the definition of a “suit” within the 2015 Policy. NFI thereby effectively
25   conceded that any resolution achieved in mediation might govern NFI’s legal
26   obligations.
27         59. Any contention by NFI that only a counterclaim would trigger its duty to
28   participate in funding defensive activity after the filing of the C&D Letter ignores the
                            COMPLAINT FOR DECLARATORY RELIEF
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1    ability of parties to pursue “alternative dispute resolution” in lieu of a “suit.”
2          60. Accordingly, any resolution achieved in HE’s mediation, that is within the
3    2015 Policy’s coverage, is binding on NFI.
4     HE IS ENTITLED TO COVERAGE BECAUSE OF INJURY ARISING OUT
5                OF ALLEGED INFRINGEMENT IN ITS ADVERTISEMENTS
6     The 2015 Policy Language And The Possibility For Coverage Triggering Event
7                                To Occur After The 2015 Policy
8        61.    The 2015 Policy provides:
9          We will pay those sums that the Insured becomes legally obligated to pay
10         as damages because of “personal and advertising injury” to which this
           insurance applies. We will have the right and duty to defend the Insured
11         against any suit seeking those damages. . . . We may, at our discretion,
12         investigate any offense and settle any claim or suit that may result
13       62.    The 2015 Policy defines advertising injury as:
14         . . . injury . . . arising out of one or more of the following offenses: . . . g.
           Infringing upon another's copyright . . . in your “advertisement.”
15
16         63. Damages because of “injur[ies] arising out of . . . [i]nfringement” need not

17   occur within the temporal time frame of the 2015 Policy, but rather can arise

18   subsequently, so long as the event that originally triggered the subsequent coverage

19   obligation occurred during the policy.

20         64. Here the event that originally triggered the subsequent coverage obligation,

21   namely the HE advertisements, occurred during the 2015 Policy. Specifically, the HE

22   advertisements were published during the 2015 Policy. These advertisements promoted

23   services referenced in the C&D Letter’s as “Internet [S]ervice[s].” The C&D Letter

24   thereby alleges HE’s advertisements contributed to the alleged infringements in the

25   C&D Letter (as well as inducing or contributing to subsequently-discovered

26   infringements).
            The Copyright Infringement Requirement Of The 2015 Policy Is Met
27
           65. Copyright infringement has two essential elements. The first is ownership of
28
                             COMPLAINT FOR DECLARATORY RELIEF
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1    a valid copyright. The second is the copying of constituent elements of the work that
2    are original.
3          66. Regarding the first element, the C&D Letter states the Claimants are “the
4    owners of the copyright protected motion pictures . . .” Thus, the first element is met.
5          67. Regarding the second element, the C&D Letter alleges that IP addresses
6    associated with HE’s customers committed “[t]housands of infringements of
7    [Claimants’] motion pictures.” The C&D Letter also alleges that IPv4 addresses and an
8    IPv6 address utilized HE’s “Internet [S]ervice,” to access “movie piracy websites.” The
9    alleged download of an entire movie is alleged copying the constituent elements of the
10   work that are original. Therefore, the C&D Letter alleges wholesale copying of the
11   Claimants’ copyrighted movies. This allegation satisfies the second element of
12   copyright infringement.
13        The Google Advertisement For HE’s “Internet Service” Constitutes An
14      “Advertising Injury Arising Out Of Infringement In Your Advertisement”
15         68. The “advertising injury . . . arising out of” requirement of the 2015 Policy is
16   met. “Arising out of” as used in the definition of “advertising injury,” is undefined in
17   the 2015 Policy. The plain meaning of the term “arising out of” means “originating
18   from,” “having its origin in,” “growing out of,” “flowing from,” incident to,” or “having
19   connection with.”
20         69. The “advertising injury . . . arising out of” requirement is met here, because
21   the C&D Letter alleges that HE’s “Internet [S]ervice[s]” advertised in HE’s Google
22   advertisement were used by end-users of those services to commit the alleged copyright
23   infringement. Attached as Exhibit “12” is a true and correct copy the referenced Google
24   advertisement.
25         70. Claimants’ allegations that the Google advertisement encouraged any of the
26   alleged copyright infringements referenced in the C&D Letter or the 2300 IP List are
27   contested by HE.
28         71. HE’s Google advertisement for services during the 2015 Policy advertised
                            COMPLAINT FOR DECLARATORY RELIEF
                                           14
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1    services including:
2          IP Transit For Your Network, Reach More Networks With Lower Latency.
           Price Matching. Turn up within 7 days. 24 x 7 NOC. Features: Port
3
           Availability, Flexible Billing, Rapid Turnaround Capability, Ability To
4          Grow With You.
5          72. HE’s IPv4 and IPv6 customers gain access to services such as, connection to
6    a high speed port, referenced in the Google advertisement and hereinafter referenced as
7    “Port Availability.” HE also offers Port Availability within one day and 24-hour
8    Network Operation Centers that can respond to any technical difficulty customers are
9    having (these services, along with other services including IP Transit, Lower Latency,
10   and Rapid Turnaround Capability are sometimes referred to as HE’s “Internet Service
11   Connection”).
12         73. Multiple customers associated with IP addresses that were alleged to be used
13   by Customers/End-Users to infringe Claimants’ copyrights signed-up with HE’s
14   Internet Service Connection during the 2015 Policy to gain access to HE’s services and
15   features, such as Port Availability, for example, as advertised in HE’s Google
16   advertisement.
17         74. Claimants’ allege that HE’s Google advertisement may have encouraged
18   Customers/End-Users to commit the alleged infringement, but HE contends otherwise.
19         75. Thus, “advertising injury . . . arising out of” is met because the Claimants
20   demands for monetary damages “originat[ed] from” HE’s Google advertisement for
21   HE’s Internet Service Connection services during the 2015 Policy.
22         76. The “in your advertisement” element of the 2015 Policy is also met.
23         77. One of the services in HE’s Google advertisement was Port Availability. It
24   allows HE’s customers, including those with allegedly infringing IP addresses in the
25   2300 IP List and C&D Letter, to connect at a data center. Thereby the advertised Port
26   Availability allegedly allowed the alleged copyright infringers to access the Internet and
27   allegedly download and/or upload Claimants’ copyrighted movies.
28         78. Thus the services advertised in HE’s Google advertisement that enticed HE’s
                            COMPLAINT FOR DECLARATORY RELIEF
                                           15
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1    customers to sign up for the Internet Service Connection during the 2015 Policy later
2    allegedly led to the alleged copyright infringement that Claimants assert in the C&D
3    Letter. These infringements allegedly occurred at some point thereafter within the three-
4    year statute of limitations as tolled from the date of discovery in 2018. For example, the
5    C&D Letter states there was an alleged infringement of a movie “at the IP address . . .
6    at time stamp 2018-10-19 . . . .”
7            79. Claimants’ allegations that the Google advertisement may have encouraged
8    the alleged infringements referenced in the C&D Letter or the 2300 IP List, are
9    contested by HE.
10           80. Thus, the Port Availability feature referenced in the Google advertisement
11   for the Internet Service Connection has allegedly contributed to the Claimants’ alleged
12   copyright infringement in the C&D Letter, and satisfies the 2015 Policy requirement
13   that damages arise out of “[i]nfringing upon another’s copyright . . . in your
14   advertisement”.
15   The IPv6 Tunnel Broker Advertisement For HE’s “Internet Service” Constitutes
16    An “Advertising Injury Arising Out Of Infringement In Your Advertisement”
17           81. The “arising out of” injury is met for the IPv6 Tunnel Broker as well. As
18   referenced above, the 2015 Policy does not define “arising out of” and can be defined
19   as “originating from.”
20           82. The IPv6 Tunnel Broker webpage advertisement in 2015 that allowed IPv6
21   customers to sign up for easy access in response to this advertisement, advertised
22   “Internet [S]ervice,” as referred to in the C&D Letter, that the alleged infringers
23   allegedly used to download and/or upload Claimants’ movies. Although Claimants’
24   allegations appear to assert the IPv6 Tunnel Broker webpage advertisement may have
25   encouraged the alleged infringement referenced in the C&D Letter, HE contends
26   otherwise. Attached as Exhibit “13” is a true and correct copy of an Archive from Way
27   Back Machine of HE’s IPv6 Tunnel Broker webpage advertisement dated March 7,
28   2015.
                              COMPLAINT FOR DECLARATORY RELIEF
                                             16
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1          83. The IPv6 Tunnel Broker webpage advertisement stated:
2          Welcome to the Hurricane Electric IPv6 Tunnel Broker! Our free tunnel
           broker service enables you to reach the IPv6 Internet by tunneling over
3
           existing IPv4 connections from your IPv6 enabled host or router to one of
4          our IPv6 routers. To use this service you need to have an IPv6 capable host
           (IPv6 support is available for most platforms) or router which also has IPv4
5
           (existing Internet) connectivity. Our tunnel service is oriented towards
6          developers and experimenters that want a stable tunnel platform.
7          84. The C&D Letter lists an IPv6 address associated with one of HE’s
8    Customers/End-Users that allegedly committed copyright infringement by facilitating
9    the IPv6 address’s seamless utilization through the IPv6 Tunnel Broker supplied by HE
10   as it advertised the IPv6 Tunnel Broker in 2015. Claimants’ allegations appear to state
11   the IPv6 Tunnel Broker advertisement may have encouraged the alleged infringement,
12   but HE contends otherwise.
13         85. The C&D Letter also states that “[t]housands of infringements of my client’s
14   motion pictures have occurred at the above IP addresses,” which includes an address
15   for HE’s IPv6 Tunnel Broker service.
16         86. There is a reasonable inference from the C&D Letter that Claimants will
17   assert customers that signed up during the 2015 Policy allegedly committed copyright
18   infringement at a later date through HE’s IPv6 Tunnel Broker, an “Internet [S]ervice”
19   as referred to in the C&D Letter, for two reasons:
20             a. First, the C&D Letter lists an IPv6 address associated with an HE
21                customer that allegedly committed copyright infringement demonstrating
22                IPv6 infringement can allegedly occur;
23             b. Second, Claimants have referenced “[t]housands” of alleged copyright
24                infringement at five IP addresses—including the noted IPv6 address—
25                listed in the C&D Letter, evidencing an inference that more alleged IP
26                infringements, including the end users associated with HE IPv6 customers
27                that signed up within the 2015 Policy and who are still customers, are
28                forthcoming.
                           COMPLAINT FOR DECLARATORY RELIEF
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1          87. Multiple customers signed-up for HE’s IPv6 Tunnel Broker service during
2    the 2015 Policy. These customers used the IPv6 Tunnel Broker to test whether they
3    could change their IPv4 services to IPv6 during the 2015 Policy. Customers would be
4    wary to switch if they could not first test whether their IPv4 equipment and software
5    will work on IPv6.
6          88. Thus, “advertising injury . . . arising out of” is met because the Claimants’
7    demands for monetary damages in the C&D Letter “originat[ed] from” HE’s
8    advertisement of its IPv6 Tunnel Broker service during the 2015 Policy.
9          89. The “in your advertisement” requirement of the 2015 Policy is met here as
10   well because:
11             a. First, the advertised services on HE’s website for the IPv6 Tunnel Broker
12                   include allowing HE’s customers to offer newer and improved IP
13                   addresses to all of that customer’s end users. The end users can allegedly
14                   then utilize the new IPv6 setup to allegedly download and/or upload
15                   copyrighted movies at their new IPv6 addresses as alleged in the C&D
16                   Letter. Although the Claimants’ allegations appear to state the
17                   advertisement on HE’s webpage for the IPv6 Tunnel Broker may have
18                   encouraged the alleged infringements referenced in the C&D Letter, HE
19                   contends otherwise.
20             b. Second, the end users allegedly downloaded the copyrighted movies
21                   easier with HE’s IPv6 addresses and HE’s IPv6 Tunnel Broker. The
22                   service advertised on the IPv6 Tunnel Broker webpage enticed
23                   Customers/End-Users to sign up during the 2015 Policy, and is alleged to
24                   have led to the alleged copyright infringements and demand for monetary
25                   damages in the C&D Letter, and satisfies the “infringing upon another’s
26                   copyright . . . in your advertisement” requirement of the 2015 Policy.
27                   Claimants’ allegations appear to state the advertisement on HE’s webpage
28                   for the IPv6 Tunnel Broker may have encouraged the alleged
                              COMPLAINT FOR DECLARATORY RELIEF
                                             18
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1                 infringements referenced in the C&D Letter. HE contends otherwise.
2          90. Thus, the C&D Letter’s reference to “Internet [S]ervice[s]” includes HE’s
3    Google advertisement and HE’s IPv6 Tunnel Broker Webpage Advertising and satisfies
4    the “infringing upon another’s copyright . . . in your advertisement” under the 2015
5    Policy.
6                      The 2015 Policy’s Definition Of Advertisement
7        91.   The 2015 Policy defines an “advertisement” as:
8          1. a notice that is broadcast or published to the general public or specific
           market segments about your goods, products or services for the purpose of
9
           attracting customers or supporters. For the purposes of this definition:
10                a. Notices that are published include material placed on the Internet
11                or on similar electronic means of communication; and
12                b. Regarding web sites, only that part of a web site that is about your
                  goods, products or services for the purposes of attracting customers
13                or supporters is considered an advertisement.
14
                                  HE’s Google Advertisement
15
           92. HE advertisement for HE’s IPv4 and IPv6 “Internet [S]ervice” that was
16
     broadcasted to the general public on the Internet via Google. The Google advertisement
17
     was a “notice” that was “placed on the internet” pursuant to the 2015 Policy. [Ex. 6]
18
           93. The Google advertisement included the following statements:
19
           IP Transit For Your Network, Reach More Networks With Lower Latency.
20         Turn up within 7 days. 24 x 7 NOC. Features: Port Availability, Flexible
           Billing, Rapid Turnaround Capability, Ability to Grow With You.
21
22         94. The Google advertisement was “placed on the Internet” at HE’s behest. It
23   describes HE’s “goods, products or services.” HE paid Google to arrange the words in
24   this advertisement to “attract[] customers and supporters.”
25         95. The Google advertisement appeared during the 2015 Policy. It enticed
26   multiple customers to sign up for HE’s “Internet [S]ervice,” as the C&D Letter
27   references. Some of the IPv4 addresses identified as allegedly associated with end-user
28   infringement by the 2300 IP List and/or C&D Letter in 2018 were associated with these
                            COMPLAINT FOR DECLARATORY RELIEF
                                           19
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1    customers that signed-up in 2015. The C&D Letter may contend via its blanket
2    reference to “Internet [S]ervice[s]” that the Google advertisement encouraged these
3    customers or IP addresses to commit the alleged infringement. HE, however, contends
4    otherwise.
5          96. HE’s IPv4 and IPv6 customers gain access to services such as Port
6    Availability and the Internet Service Connection. Once HE has connected a customer
7    to a data center, the customer may contact a service provider to take that connection
8    from the port and provide it to end users like residences and businesses.
9          97. This service, and the others listed in the Google advertisement, attract
10   customers like the ones that signed-up in 2015 and which have IP addresses identified
11   as allegedly associated with end-user infringement by the 2300 IP List and/or C&D
12   Letter in 2018.
13         98. The Google advertisement therefore evidences a covered “advertisement”
14   within a reasonable construction of that term in the 2015 Policy.
15                            HE’s IPv6 Tunnel Broker Advertisement
16         99. The IPv6 Tunnel Broker webpage also constitutes an advertisement within
17   the 2015 policy. The IPv6 Tunnel Broker webpage is a “web site that is about [HE’s]
18   [Tunnel Broker] service for the purposes of attracting customers.”
19         100. During the 2015 Policy, and prior to the customers signing up for the IPv6
20   Tunnel Broker service in March, 2015, the IPv6 Tunnel Broker webpage stated:
21         Welcome to the Hurricane Electric IPv6 Tunnel Broker! Our free tunnel
           broker service enables you to reach the IPv6 Internet by tunneling over
22
           existing IPv4 connections from your IPv6 enabled host or router to one of
23         our IPv6 routers. To use this service you need to have an IPv6 capable host
           (IPv6 support is available for most platforms) or router which also has IPv4
24
           (existing Internet) connectivity. Our tunnel service is oriented towards
25         developers and experimenters that want a stable tunnel platform.
26         Advantages of using our tunnel service over others include:
27         Run by a Business ISP with 24 x 7 staff at multiple locations and an
           International backbone . . .
28
                            COMPLAINT FOR DECLARATORY RELIEF
                                           20
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1          Ability to get your own /48 prefix once your tunnel is up
           Ability to get a full view of the IPv6 BGP4+ routing table
2
           Ability to use your tunnel now after a simple registration process. (It takes
3          less than a minute.)
4          Ability to create your tunnel on geographically diverse tunnel-servers
5          (Ashburn, Chicago, Dallas, Denver, Fremont, Kansas City, Los Angeles,
           Miami, New York, Palo Alto, Phoenix, San Jose, Seattle, Toronto,
6          Winnipeg, Amsterdam, Berlin, Budapest, Frankfurt, London, Paris,
7          Prague, Stockholm, Stockholm, Warsaw, Zurich, Hong Kong, Singapore,
           and Tokyo.
8
9          101. The definition of an “advertisement” in the 2015 Policy is met because the

10   IPv6 Tunnel Broker webpage is a “notice . . . broadcast . . . to a specific market

11   segment,” i.e. HE’s IPv4 clients, developers, and experimenters.

12         102. The IPv6 Tunnel Broker webpage is a “web site[] . . . that is about [HE’s]

13   goods, products, or services for the purpose of attracting customers or supporters . . . .”

14   The IPv6 Tunnel Broker is free to encourage developers and experimenters to be sure

15   their devices, software, and webpages are compatible with IPv6. This is to encourage

16   these groups to switch from an IPv4 address to an IPv6 address from which HE would

17   profit since it offers IPv6 connections. The IPv6 Tunnel Broker webpage’s entire
     purpose is to “attract[] customers” to switch from IPv4 to IPv6, for which HE is the
18
     world leader.
19
           103. Thus, the IPv6 Tunnel Broker webpage constitutes an “advertisement”
20
     within the terms of the 2015 Policy.
21
             THE 2015 POLICY REQUIREMENT OF “DAMAGES BECAUSE OF
22
                     INJURY ARISING OUT OF ‘ADVERTISING INJURY’”
23
                                    Pertinent 2015 Policy Language
24
         104. The 2015 Policy states:
25
26         We will pay those sums that the Insured becomes legally obligated to pay
27         as damages because of “personal and advertising injury” to which this
           insurance applies.
28
                            COMPLAINT FOR DECLARATORY RELIEF
                                           21
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1        105. The 2015 Policy goes on to define “advertising injury” as:

2          14. . . [I]njury . . . arising out of . . . : . . .
3          g. Infringing upon another's copyright . . . in your “advertisement.”

4              The 2015 Policy “Injury Arising Out Of” Requirement Is Met

5          106. “Injury arising out of” within the context of an insurance agreement has

6    been broadly defined to mean “originating from,” or “having its origin in.”

7          107. The C&D Letter alleged that end users utilized IPv4 addresses and an IPv6

8    address to allegedly commit infringement in 2018 that originated from the Google

9    advertisement because:

10             a. First, the C&D Letter alleged that IPv4 addresses were utilized to commit

11                infringement on February 16, 2018, March 6, 2018, and August 24, 2018.

12                Some of these IPv4 addresses are associated with HE customers who

13                signed up for HE’s Port Availability and Internet Service Connection in

14                2015 in response to the Google advertisement;

15             b. Second, without the advertisement for HE’s Port Availability or Internet

16                Service Connection the customers would not have signed up for these

17                “Internet [S]ervice[s]” as referenced in the C&D Letter;

18             c. Third, without the advertisement, the end users associated with the

19                customers who utilized Port Availability and the Internet Service

20                Connection could not have committed the alleged copyright infringement

21                because without these services the copyright infringement the end users

22                allegedly committed could not have occurred, HE, however, contests that

23                it encouraged anybody to commit copyright infringement with the

24                advertisement;

25             d. Fourth, the C&D Letter’s reference to end users allegedly employing

26                HE’s “Internet [S]ervice” is broad and undefined and can be reasonably

27                construed to include HE’s Port Availability and Internet Service

28                Connection.
                           COMPLAINT FOR DECLARATORY RELIEF
                                          22
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1          108. Thus, the C&D Letter alleges an “injury” that originates from or has its
2    origin in HE’s Google advertisement published during the 2015 Policy.
3          109. The C&D Letter also alleged that an end user utilized an IPv6 address
4    associated with an HE Customer/End-User to allegedly commit copyright infringement
5    had its origin in the IPv6 Tunnel Broker webpage advertisement because:
6              a. First, the C&D Letter alleges that an IPv6 address was utilized to commit
7                 the alleged infringement on September 19, 2018;
8              b. Second, there is a reasonable inference from the C&D Letter that
9                 Claimants will assert customers that signed up during the 2015 Policy
10                allegedly committed copyright infringement at a later date before the
11                expiration of the Statute of Limitations through HE’s IPv6 Tunnel Broker,
12                for two reasons:
13                       i. First, the C&D Letter lists an IPv6 address associated with an
14                            HE customer that allegedly committed copyright infringement
15                            demonstrating IPv6 infringement can allegedly occur;
16                       ii. Second, Claimants have referenced “[t]housands” of alleged
17                            copyright infringement at five IP addresses—including the
18                            noted IPv6 address—listed in the C&D Letter, evidencing an
19                            inference that more alleged IP infringements, including the end
20                            users associated with HE IPv6 customers that signed up within
21                            the 2015 Policy and who are still customers, are forthcoming;
22             c. Third, without the advertisement for HE’s IPv6 Tunnel Broker HE
23                customers and other non-associated end users would not have utilized this
24                “Internet [S]ervice” as referenced in the C&D Letter. More critically,
25                these potential users would have otherwise been unaware that the service
26                was free;
27             d. Fourth, without the advertisement the end users associated with
28                customers who utilized the IPv6 Tunnel Broker could not have committed
                           COMPLAINT FOR DECLARATORY RELIEF
                                          23
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1                 the alleged infringement. This is because the HE customer or non-
2                 associated end user would not have wanted to switch to an IPv6 system
3                 without knowing first that it worked. The IPv6 Tunnel Broker allows for
4                 the testing of whether IPv4 system will work on an IPv6 system. HE,
5                 however, contends that it encouraged infringement with its advertisement;
6              e. Fifth, the C&D Letter alleges that the IPv6 address utilized HE’s “Internet
7                 [S]ervice,” which can be reasonably construed to include the service
8                 provided in the IPv6 Tunnel Broker.
9          110. Thus, the C&D Letter alleges an “injury” that originates from or has its
10   origin in HE’s IPv6 Tunnel Broker webpage advertisement published during the 2015
11   Policy.
12                               The 2015 Policy’s Requirement Of
13                          “Damages Because Of” Requirement Is Met
14         111. “Damages because of” is not defined in the 2015 Policy. It means
15   “damages” for “advertising injury” caused by “infringement in your advertisement.”
16         112. Copyright infringement is comprised of two elements ownership of a valid
17   copyright and the copying of constituent elements of the work that are original.
18         113. The C&D Letter alleges “damages because of” for the following reasons:
19             a. First, the C&D Letter explicitly states that it wants HE “to pay a portion
20                of [Claimants] damages.” These damages stem from the “Internet
21                Service[s]” that HE provides to customers. These customers allegedly
22                have IP addresses associated with that allegedly downloaded movies from
23                websites by allegedly using HE’s “Internet [S]ervice”;
24             b. Second, the C&D Letter states that the Claimants are “the owners of the
25                copyright motion pictures . . .”;
26             c. Third, absent the advertisements HE customers would not have signed up
27                for these “Internet [S]ervice[s]” and the alleged infringers could not have
28                allegedly downloaded the movies. Without the alleged ability to
                           COMPLAINT FOR DECLARATORY RELIEF
                                          24
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1                    download movies there would be no “damages” in this case;
2               d. Fourth, “Internet [S]ervice” is not defined by the C&D Letter and is
3                    reasonably construed to include the services that HE advertised for in the
4                    Google advertisement and the IPv6 Tunnel Broker webpage
5                    advertisement.
6          114. Thus, the “damages because of” requirement is met here since the
7    Claimants’ C&D Letter is seeking monetary damages against HE that allegedly arise
8    form HE’s advertisements. In other words, HE Customers/End-Users signed up
9    “Internet [S]ervice[s],” referenced in the C&D letter, “because of” HE’s advertisements
10   which led to the Claimants’ assertion for damages for the alleged infringement by end
11   users. HE, however, contests that its advertisements encouraged the alleged
12   infringement.
13                              THE STATUTE OF LIMITATIONS IS
14                              TOLLED BY THE DISCOVERY RULE
15         115. Copyright infringement claims have a three-year statute of limitations that
16   is tolled by the “discovery rule.” This means that any outstanding alleged copyright
17   infringement claims triggered by customers that signed up for IPv4 and IPv6 services
18   in response to HE advertisements during the 2015 Policy that Claimants have yet to
19   discover are still actionable.
20         116. Given that Claimants asserted that the IP addresses associated with
21   multiple of HE’s customers, who signed up during the 2015 Policy, have allegedly
22   committed copyright infringement at unknown dates, there has been no determination
23   in the HE Declaratory Relief Actions that determines when Claimants’ alleged rights
24   accrue. Claimants’ alleged rights could potentially accrue at any time, so there is no
25   basis to conclude that the statute of limitations has run for any claims otherwise
26   potentially covered by the 2015 Policy.
27         117.    HE cannot identify the individual end users using the allegedly infringing
28   IP addresses associated with the customers who signed up for the IPv4 services HE
                              COMPLAINT FOR DECLARATORY RELIEF
                                             25
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1    offered and advertised during the 2015 Policy.
2          118.   HE cannot identify the individual end users using the allegedly infringing
3    IP addresses associated with the customers who signed up for the IPv6 services HE
4    offered and advertised during the 2015 Policy.
5          119. Claimants are likely to make additional allegations of copyright
6    infringement against HE arising from alleged actions of end users associated with HE’s
7    customers of HE’s IPv4 and IPv6 “Internet [S]ervice[s],” as referred to in the C&D
8    Letter, who signed up for those services when they were offered and advertised by HE
9    during the 2015 Policy.
10      HE IS ENTITLED TO REIMBURSEMENT FOR FEES INCURRED FOR
11                     SERVICES “CONDUCTED AGAINST LIABILITY”
12         120. The HE Declaratory Relief Actions comprise legal activity undertaken by
13   HE in response to the claims for liability asserted in the C&D Letter against HE.
14         121. California law requires NFI to reimburse HE’s attorney fees incurred in
15   the pursuit of the HE Declaratory Relief Actions against Claimants, because the HE
16   Declaratory Relief Actions are defensive of the C&D Letter seeking monetary damages
17   and other relief against HE.
18         122. The HE Declaratory Relief Actions also responded to Claimants’ service
19   of a subpoena on HE listing only one of the Claimants. Claimants improperly used that
20   subpoena to secure extensive ex parte communications with HE.
21         123. The information Claimants secured through the subpoena led the
22   Claimants to demand that HE take immediate action against third-party alleged
23   copyright infringers referenced in the C&D Letter, who were unidentified and/or
24   unknown to HE. Claimants’ demands for money from HE were premised on HE’s
25   alleged contributory copyright infringement via HE’s advertisements to solicit users for
26   its “Internet [S]ervice[s]” as described in the C&D Letter.
27         124. The Claimants’ communications with HE that led HE to file the HE
28   Declaratory Relief Actions include the C&D Letter [Ex. 3], a letter from Claimants’
                            COMPLAINT FOR DECLARATORY RELIEF
                                           26
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1    counsel sent on May 1, 2020 [Ex. 5], a letter to Claimants’ counsel from HE sent on
2    May 15, 2020 misdated as being sent on June 15, 2020, a true and correct copy of which
3    is attached as Exhibit “14”, and a letter from Claimants’ counsel from May 20, 2020,
4    a true and correct copy of which is attached as Exhibit “15”.
5                                           CLAIMS
6                                          First Claim
7                                Declaratory Relief Against NFI
8          125. HE repeats and re-alleges the allegations in the above paragraphs 1 through
9    124 as if fully set forth herein.
10         126. A valid contract existed between HE and NFI, namely the 2015 Policy.
11         127. HE fully performed all of the obligations and conditions to be performed
12   by it under the 2015 Policy, or has been excused from performing the same because of
13   NFI’s breach of its duty to defend the Claimants’ monetary damages claims.
14         128. By selling the 2015 Policy to HE, NFI agreed to provide HE with a defense
15   for suit seeking damages for “personal and advertising injury” offense, as defined in the
16   2015 Policy.
17         129. The Claimants’ demands in the C&D Letter allege facts potentially
18   implicating coverage under the 2015 Policy for “personal and advertising injury,”
19   offense (g) liability, thereby triggering NFI’s obligation to settle and/or defend HE from
20   those asserted claims.
21         130. The Claimants’ demand for damages required NFI to address, and if
22   possible settle, the claim against HE articulated in the C&D Letter.
23          131. The Claimants’ demand for damages required NFI to reimburse HE for
24   fees and costs HE expended to prosecute the HE Declaratory Relief Actions that were
25   “conducted against liability” for the Claimants’ C&D Letter demands.
26          132. NFI has refused to reimburse HE for fees and costs HE expended to
27   prosecute the HE Declaratory Relief Actions, despite HE’s defensive role in the HE
28   Declaratory Relief Actions “conducted against liability” for the Claimants’ C&D Letter
                              COMPLAINT FOR DECLARATORY RELIEF
                                             27
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1    demands.
2          133. An actual bona fide controversy exists between HE, on the one hand, and
3    NFI, on the other that requires a judicial declaration by this Court of the party’s rights
4    and duties regarding potential of coverage under the NFI policy, namely NFI’s duty to
5    reimburse HE for the defensive HE Declaratory Relief Actions.
6          134. HE has suffered, and absent action by this Court will continue to suffer,
7    legally cognizable damages as a result of NFI’s improper and unjustified refusal to
8    reimburse HE for fees and costs HE expended to prosecute the HE Declaratory Relief
9    Actions.
10         135. HE is entitled to injunctive, monetary, and other relief from NFI.
11                                  PRAYER FOR RELIEF
12         WHEREFORE, HE prays for judgment against NFI as follows:
13         A. A judicial declaration that NFI had and has a duty under the 2015 policy NFI
14              issued to HE to defend HE against the Claimants’ demands that are the subject
15              of the HE Declaratory Relief Actions;
16         B. A determination that the HE Declaratory Relief Actions were “conducted
17              against liability” by HE pursuant to the 2015 policy NFI issued to HE;
18         C. A judicial declaration that NFI’s duty to defend HE, under the 2015 policy
19              NFI issued to HE, encompasses reimbursement of the fees and costs expended
20              by HE in pursuit of the HE Declaratory Relief Actions;
21         D. A determination and an award of general damages comprising reimbursement
22              by NFI for all fees and costs incurred by HE in connection with the HE
23              Declaratory Relief Actions;
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                            COMPLAINT FOR DECLARATORY RELIEF
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1         E. An award of prejudgment interest accruing from the date of each invoice
2            related to the HE Declaratory Relief Actions at the statutory rate of 10% per
3            annum pursuant to applicable California law from the date of each invoice;
4         F. An award of costs of suit; and
5         G. Such other and further relief as this Court deems just and proper.
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     Dated: August 19, 2020                      GAUNTLETT & ASSOCIATES
8                                                /s/ David A. Gauntlett
9                                                David A. Gauntlett (SBN 96399)
                                                 info@gauntlettlaw.com
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15                                               HURRICANE ELECTRIC, LLC
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1                             EXHIBITS TO COMPLAINT
2    EXHIBIT “1” – Declaratory Relief Action filed by HE styled Hurricane Electric, LLC,
3                     v. Dallas Buyers Club, LLC, et al., Case No. 4:20-cv-03813
4    EXHIBIT “2” – Declaratory Relief Action filed by HE styled Hurricane Electric, LLC,
5                    v. Millennium Funding, Inc., et al., Case No. 2:20-cv-01034
6    EXHIBIT “3” – Cease and Desist Letter from Claimants dated March 19, 2020
7    EXHIBIT “4” – 2300 IP List sent with Claimants’ Reply Letter dated May 1, 2020
8    EXHIBIT “5” – Reply Letter from Claimants’ Counsel dated May 1, 2020
9    EXHIBIT “6” – NFI’s Commercial General Liability Policy No. C 5091119138 issued
10                   by NFI for the period January 24, 2015 to January 24, 2016
11   EXHIBIT “7” – HE’s Email Notice to NFI dated May 27, 2020
12   EXHIBIT “8” – NFI’s Acknowledgement of HE’s Notice dated June 4, 2020
13   EXHIBIT “9” – NFI’s Denial of Coverage dated July 1, 2020
14   EXHIBIT “10” – Notice to NFI and NFI’s Denial to Participate in HE and Claimants
15                    Scheduled Mediation Proceeding
16   EXHIBIT “11” – The Northern District of California’s Local Rules on Alternative
17                    Dispute Resolution
18   EXHIBIT “12” – HE’s Google Advertisement for Internet Service Connection
19                    Services dated September 24, 2015
20   EXHIBIT “13” – Archive from Way Back Machine of HE’s IPv6 Tunnel Broker
21                    webpage Advertisement dated March 7, 2015
22   EXHIBIT “14” – Letter to Claimants’ Counsel from HE sent May 15, 2020 but
23                    misdated as being sent on June 15, 2020
24   EXHIBIT “15” – Letter from Claimants’ Counsel to HE dated May 20, 2020
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                          COMPLAINT FOR DECLARATORY RELIEF
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